Case 4:21-cr-00102-GKF Document 99 Filed in USDC ND/OK on 09/28/21 Page 1 of 9


                                                                                  CLOSED,SEALED
                          U.S. District Court
                Western District of Missouri (Springfield)
     CRIMINAL DOCKET FOR CASE #: 6:21−mj−02056−DPR−1 *SEALED*

  Case title: USA v. Jones                               Date Filed: 09/27/2021

  Assigned to: Magistrate Judge
  David P. Rush
                                                           21-cr-00102-CVE-9

  Defendant (1)
  Curtis Anthony Jones            represented by Michelle Nahon Moulder
                                                 Federal Public Defender's Office
                                                 901 St. Louis, Suite 801
                                                 Springfield, MO 65806
                                                 (417) 873−9022
                                                 Fax: (417) 873−9038
                                                 Email: michelle_moulder@fd.org
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Public Defender or Community
                                                 Defender Appointment
                                                 Bar Status: Active

  Pending Counts                                Disposition
  None

  Highest Offense Level
  (Opening)
  None

  Terminated Counts                             Disposition
  None

  Highest Offense Level
  (Terminated)
  None

  Complaints                                    Disposition
  18:3583.F



  Plaintiff


                                                                                                  1
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  USA                                             represented by Randall D. Eggert
                                                                 U. S. Attorney's Office
                                                                 901 St. Louis Street
                                                                 Suite 500
                                                                 Springfield, MO 65806
                                                                 417/831−4406
                                                                 Fax: 417/831−0078
                                                                 Email: randy.eggert@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Assistant US Attorney
                                                                 Bar Status: Active
  Email All Attorneys
  Email All Attorneys and Additional Recipients

   Date Filed    # Page Docket Text
   09/27/2021    1         RULE 5 as to Curtis Anthony Jones (1). (Berziel, Karla) (Entered: 09/27/2021)
   09/27/2021    2         NOTICE OF HEARING as to Curtis Anthony Jones. This is the official notice
                           for this hearing. Initial Appearance − Rule 5 set for 9/28/2021 at 10:15 AM in
                           MJ Courtroom, Springfield (DPR) before Magistrate Judge David P. Rush. This
                           is a TEXT ONLY ENTRY. No document is attached. (Berziel, Karla) (Entered:
                           09/27/2021)
   09/28/2021    3         Minute Entry for proceedings held before Magistrate Judge David P. Rush:
                           INITIAL APPEARANCE in Rule 5(c)(3) Proceedings as to Curtis Anthony
                           Jones held on 9/28/2021. Time in court: 10:10 a.m. to 10:12 a.m. To order a
                           transcript of this hearing please contact Karla Berziel, 417−865−3869.
                           DEFENDANT IN CUSTODY. (Berziel, Karla) (Entered: 09/28/2021)
   09/28/2021    4         WAIVER of Rule 5(c)(3) Hearings by Curtis Anthony Jones. (Berziel, Karla)
                           (Entered: 09/28/2021)
   09/28/2021    5         ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Curtis Anthony
                           Jones. (Berziel, Karla) (Entered: 09/28/2021)
   09/28/2021    6         COMMITMENT TO ANOTHER DISTRICT as to Curtis Anthony Jones.
                           Defendant committed to Northern District of Oklahoma. (Berziel, Karla)
                           (Entered: 09/28/2021)




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 MIME−Version:1.0
 From:ecfMOW.notification@mow.uscourts.gov
 To:cmecf_atynotifications@mow.uscourts.gov
 Bcc:
 −−Case Participants:
 −−Non Case Participants: MarshalsAllDist (usmsmow.ecfnotice@usdoj.gov), Pretrial −
 Jefferson City (mow_pts_jc_cmecf@mow.uscourts.gov), Pretrial − Kansas City
 (mow_pts_kc_cmecf@mow.uscourts.gov), ProbationAll (mow_dqa@mow.uscourts.gov)
 −−No Notice Sent:

 Message−Id:7552253@mow.uscourts.gov
 Subject:Activity in Case 21−2056 Sealed v. Sealed (Redacted Notice)
 Content−Type: text/html

                                             U.S. District Court

                                        Western District of Missouri

 Notice of Electronic Filing


 The following transaction was entered on 9/27/2021 at 12:31 PM CDT and filed on 9/27/2021

  Case Name:       USA v. Jones
  Case Number:     6:21−mj−02056−DPR *SEALED*
  Filer:
  Document Number: 2(No document attached)
 Docket Text:
  NOTICE OF HEARING as to Curtis Anthony Jones. This is the official notice for this hearing.
 Initial Appearance − Rule 5 set for 9/28/2021 at 10:15 AM in MJ Courtroom, Springfield (DPR)
 before Magistrate Judge David P. Rush. This is a TEXT ONLY ENTRY. No document is
 attached. (Berziel, Karla)


 6:21−mj−02056−DPR *SEALED*−1 Notice has been electronically mailed to:

 6:21−mj−02056−DPR *SEALED*−1 It is the filer's responsibility for noticing the following parties by
 other means:


 REDACTED NOTICE FOLLOWS



 This is an automatic e−mail message generated by the CM/ECF system. Please DO NOT RESPOND to
 this e−mail because the mail box is unattended.
 ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
 attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
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 fees apply to all other users. To avoid later charges, download a copy of each document during this first
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 apply.


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 NOTE: This docket entry (or case) is SEALED. Do not allow it to be seen by
 unauthorized persons.
                                           U.S. District Court

                                      Western District of Missouri

 Notice of Electronic Filing


 The following transaction was entered on 9/27/2021 at 12:31 PM CDT and filed on 9/27/2021

  Case Name:          Sealed v. Sealed
  Case Number:        21−2056 (Requires CM/ECF login)
  Filer:              Redacted
  Document Number:    Sealed (No document attached)
 Docket Text:
  Redacted due to sealed restriction. Docket text can be viewed via the unredacted NEF
 receipt available here. (Requires CM/ECF login)




                                                                                             38
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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

                                      MINUTE SHEET

UNITED STATES OF AMERICA                             Date: September 28, 2021

vs.                                                  Case No.: 21-mj-2056DPR

CURTIS ANTHONY JONES


Honorable David P. Rush, presiding at Springfield, Missouri

Nature of Hearing: Rule 5(c)(3) Out – Initial Appearance

Time Commenced: 10:10 a.m.                                    Time Terminated: 10:12 a.m.


                                      APPEARANCES

Plaintiff:    Megan Chalifoux, AUSA
Defendant:    Michelle Moulder, FPD
USPPTS:       Tracy Cowin


Proceedings: Parties appear as indicated above. Defendant appears in person.

              FPD’s appointed for this district only. Government moves for detention.
              Defendant advised of rights and questioned as to completion of the waiver of
              Rule 40 hearings. Defendant waives the right to an identity hearing and a
              detention hearing in this district. Defendant reserves the right to a
              preliminary and detention hearing in the charging district. Defendant
              ordered removed to the Northern District of Oklahoma.

              Defendant in custody.


Courtroom Deputy/ERO: Karla Berziel




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                                                                                 40
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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                               Plaintiff             )
                                                     )
                    v.                               )
                                                     )    Criminal Action
CURTIS ANTHONY JONES,                                )    No. 21-mj-2056DPR
                                                     )
                               Defendant.            )



                               ORDER APPOINTING COUNSEL

        The above-named defendant having appeared before the United States Magistrate Judge on

the 28th day of September, 2021, the United States Magistrate Judge finds that defendant not

having waived counsel, it is

          ORDERED that the Federal Public Defenders' Office for the Western District of Missouri

be, and it is hereby, appointed to represent the defendant before the United States Magistrate Judge

in this district.



                                                  /s/ David P. Rush
                                              DAVID P. RUSH
                                              United States Magistrate Judge

Date:    September 28, 2021




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        Case 4:21-cr-00102-GKF Document 99 Filed in USDC ND/OK on 09/28/21 Page 8 of 9
AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Western District of Missouri

                   United States of America
                                                                      )
                              v.
                                                                      )
                                                                              Case No.   21-mj-2056DPR
                                                                      )
                                                                      )
                  CURTIS ANTHONY JONES                                           Charging District’s
                                                                      )
                                                                                                       21-CR-102-
                                                                      )
                           Defendant                                             Case No.    CVE

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                     Northern        District of            Oklahoma   ,
(if applicable)                                     division. The defendant may need an interpreter for this language:
                                                                .

          The defendant:             will retain an attorney.
                                     is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:               9/28/2021                                                               /s/ David P. Rush
                                                                                              Judge’s signature

                                                                                 David P. Rush United States Magistrate
                                                                                            Printed name and title




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                                          UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF MISSOURI
                                             Southern and Southwestern Divisions
                                                   United States Courthouse
                                             222 North John Q. Hammons Parkway
                                                           Suite 1400
                                                  Springfield, Missouri 65806
                                                        (417) 865-3869




Transfer of Criminal Case or       ✔   Magistrate Case
WDMO Case No.: 21-mj-2056DPR               Case Title: USA v. Curtis Anthony Jones

Dear Sir/Madam:

Pursuant to ✔ F.R.Cr.P. 5       F.R.Cr.P. 32
 ✔
   Attached are all public documents and the docket sheet.
   Certified copy of documents filed prior to November 1, 2004 and docket sheet.
   Not for public view document(s).
   Other

Pursuant to F.R.Cr.P. 20
  Attached are all public documents and the docket sheet.
  Certified copy of documents filed prior to November 1, 2004 and docket sheet.
  Not for public view document(s).
  Other

Pursuant to 18 U.S.C. § 3605 Transfer of Jurisdiction  Supervised Release       Probation
  Attached are the last charging document, the judgment and commitment, revocation orders (if any),
  and the docket sheet.
  Certified copy of documents filed prior to November 1, 2004 and docket sheet.
  Not for public view document(s).
  Other

                                                         Sincerely,

                                                         Paige Wymore-Wynn, Clerk of Court

                                                         By s/ Karla Berziel
                                                             Deputy Clerk




                                          TO BE COMPLETED BY RECEIVING DISTRICT

Please acknowledge receipt via e-mail to Karla_Berziel@mow.uscourts.gov

                                                         Clerk, U.S. District Court


Date:                                                    By
                                                              Deputy Clerk
